             Case 4:22-cr-00066-YGR Document 53 Filed 11/07/22 Page 1 of 1




                               UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA


                                       CRIMINAL MINUTES

 Date: November 7, 2022          Time: 10:28 – 10:41              Judge: YVONNE GONZALEZ ROGERS
 Case No.: 22-cr-00066-          Case Name: UNITED STATES v. John Russell Bellhouse
 YGR-1                                                               (PRESENT VIA ZOOM)

Attorney for Plaintiff: AUSA Andrew Paulson & Molly Priedeman
Attorney for Defendant: Shaffy Moeel

  Deputy Clerk: Aris Garcia                          Reported by: Pamela Hebel



                                           PROCEEDINGS

Status Conference – Held via Zoom

Status conference tentatively set for 11/18/2022 at time to be determined




EXCLUDABLE DELAY:
Category
Begins 11/7/2022
Ends 6/5/2023
